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Court-Appointed Temporary Receiver for Link Motion inc.

R b t W S . d Pursuant to The Honorabie Judge Victor Marrero of the
Oo e i e e i e Nn United States District Court, Southern District of New York

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Hon. Victor Marrero

United States Courthouse
Southern District of New York
500 Pear! Street, Suite 1040
New York, New York 10007

November 27, 2019

REQUEST FOR THIS LETTER AND THE ATTACHED INVOICES TO BE
MAINTAINED UNDER SEAL

Re: Interim Receiver Status Report and Fee Application of the Temporary Court-
Appointed Receiver of Link Motion, Inc. (Wayne Baliga y. Link Motion Inc. et al.
1:18-ey-11642)

Dear Honorable Judge Marrero,

I write to you pursuant to your Honor’s February 1, 2019 Order (the “Order”) to
provide an interim status report. The past month has been very productive in China, Hong
Kong and the U.S. In addition, I respectfully request that your honor review and if
acceptable, approve the invoices of the Receiver and his professionals.

Interim Status Report

Pursuant to Section 8 of your Honor’s Order, set forth below is a summary of the
key updates since the last-filed status report, filed on October 7, 2019,

1. The Receiver continues to work with and guide Kobre & Kim LLP, foreign legal
counsel in Hong Kong as well as accounting firm KLC Corporate Advisory to assist
him in his duties outside of the United States, including with the arbitration and a
plethora of issues inside China and Hong Kong related to the asset transfers of LKM
and legal issues raised therefrom. The Receiver has recently engaged (with Court
approval) KSG Attorneys at Law in the Cayman Islands to assist with securing and
maintaining assets and with other issues related to corporate governance.

2, The Receiver and his U.S. counsel filed a required form 6-K with the SEC reporting
that the Receiver has, after conducting due diligence, appointed a new director of
the Hong Kong subsidiary of Link Motion, Inc. as well as removed and replaced
the Legal Representative of the wholly foreign-owned enterprise (“WFOE”) in the
People’s Republic of China.

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3. The Receiver, as Ordered by the Court, and upon advice of Hong Kong counsel, is
actively participating in the arbitration proceedings in Hong Kong where the
Company is a party. The arbitration tribunal issued its Procedural Order, which sets
out the procedural timetable for the proceeding. The Order confirmed the dates of
the arbitration proceeding in Hong Kong to be March 30 — April 3, 2020, and also
scheduled a pre-hearing conference for March 4, 2020. The governing law in the
arbitration proceeding is New York law. Amiad Kushner, Esq. of Seiden Law
Group LLP, along with support staff, will lead the arbitration litigation on behalf
of the Receiver. Mr. Kushner is a very experienced arbitration attorney and has vast
experience in Hong Kong arbitration proceedings. Mr. Kushner will be assisted by
Michael Stolper, Esq., a three decade litigator with vast experience in commercial
litigation and arbitrations. Counsel for the Receiver are currently working on a
statement of Defense and Counterclaims on behalf of Link Motion, Inc., which will
include legal authorities, briefing and testimonial evidence in support of Link
Motion, Inc.’s defenses and counteclaims. In addition, the Receiver’s staff continue
to work diligently reviewing and analyzing contracts, legal documents and emails
produced by DLA Piper, Marcum, Skadden Arps and Loeb & Loeb for purposes of
evaluating the complex financial transactions entered into by Link Motion, Inc.
with various related and unrelated entities. This evaluation will help inform the
Hong Kong arbitration and ongoing Chinese legal proceedings.

4. The Receiver, upon advice of counsel, continues its work to identify, secure and
preserve assets of Link Motion, Inc., including sending formal letters to commercial
partners in the United States ensuring that they are aware of the Receivership orders
in the U.S. and Hong Kong.

5, The Receiver continues to seek cooperation from former Officer and Directors of
Link Motion, Inc. and former counsel to Link Motion and the Special Committee
and follows up on demands for information as well as formal letters requesting
information and compliance with the Courts Order.

6. The Receiver and his team have analyzed documents and communication records
produced by third party service providers in the US that had previously been
engaged by the Company.

7. The Receiver in concert with the Hong Kong co-Receiver and their legal counsel
had previously taken formal control of Link Motion, Inc.’s Hong Kong subsidiary
and this has recently been formally recognized by the company registry offices in
Hong Kong. The Receiver then began to take the proper steps-to gain formal control
of the wholly foreign-owned enterprise (WFOE) in the People’s Republic of China
and that entity’s bank assets. In this regard, the Receiver used the passage of
resolutions and has appointed Mr. Lilin Guo to act as Chairman and legal

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representative of Link Motion, Inc. inside the PRC. Mr. Guo has successfully
negotiated with other significant Link Motion, Inc. shareholders inside the PRC to
assist in the process of gaining control of the VLE contracts that ultimately maintain
control over the Link Motion, Inc. PRC subsidiaries. These activities are ongoing
and include legal proceedings inside

China. The Receiver has also continued to work with Mr. Jianfeng Li who has
provided invaluable English-Chinese and Chinese-English translation and advisory
services inside China.

8. The Receiver has interviewed management from Link Motion, Inc.’s Finland
operation in regards to possibilities for monetizing the Company’s intellectual
property assets controlled there. The Receiver and his counsel! has had multiple
conversations and correspondence with Finland management in this regard.

Receivership Account and Invoices

Section 5 of your Honor’s Order provides for a bank account “to fund the
Receivership including the compensation and expenses of the Receiver, which are subject
to the approval of the Court.” The Court ordered that Link Motion, Inc. “cooperate with
the Receiver in establishing and funding the Receivership Account” with a minimum
balance of $100,000. Link Motion, Inc. has continually not complied with this order and.
no funds have been provided.

Section 6 of the Order states, “The Receiver and his professionals shall be paid on
an hourly basis at a reasonable and customary rate for such work to be approved by the
Court and paid promptly out of the Receivership Estate ... Payment of the Receiver's
compensation and expenses shall have priority over all other obligations, payments, or
distributions of the Company.” The Receiver respectfully requests that the attached
invoices be reviewed by your honor, and subject to your approval, permit the Receiver to
pay invoices to professionals and the Receiver who have been working tirelessly on this
matter since February 1, 2019. The Receiver has carefully reviewed each invoice and
believes they are fair and reasonable under the circumstances. The Receiver respectfully
requests this Court’s approval to pay the invoices upon approval of the Court from the Link
Motion, Inc. funds that have been received in the Receiver escrow trust account.

Please do not hesitate to contact me via email or telephone if your honor wishes fo
discuss this request in more detail.

Respectfully submitted,

Robert W, Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion, Inc.

